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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION
   _________________________________________

   IN RE: COOK MEDICAL, INC. IVC FILTERS
   MARKETING, SALES PRACTICES AND            Case No. 1:14-ml-2570-RLY-TAB
   PRODUCTS LIABILITY LITIGATION                   MDL No. 2570
   _________________________________________

   This Document Relates to:

         Brand v. Cook Medical, Inc. et al.,
         Case No. 1:14-cv-06018-RLY-TAB
   _________________________________________


                            COOK DEFENDANTS’ MOTION
                TO EXCLUDE EXPERT OPINIONS OF DR. REBECCA BETENSKY

            Defendants Cook Incorporated, Cook Medical LLC f/k/a Cook Medical Incorporated, and

   William Cook Europe APS (collectively “Cook Defendants”) hereby move, pursuant to the

   Federal Rules of Evidence, to exclude the proffered expert testimony of Dr. Betensky. The Cook

   Defendants have contemporaneously filed a memorandum explaining the bases for their motion.

            WHEREFORE, the Cook Defendants respectfully request the Court to exclude from

   evidence the proffered expert testimony of Dr. Betensky, and for all other just and proper relief.




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                                      Respectfully submitted,

   Dated: July 20, 2018               /s/ Andrea Roberts Pierson
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                                      Incorporated), and William Cook Europe ApS




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                                     CERTIFICATE OF SERVICE

            I hereby certify that on July 20, 2018, a copy of the foregoing was filed electronically,

   and notice of the filing of this document will be sent to all parties by operation of the Court’s

   electronic filing system to CM/ECF participants registered to receive service in this matter.

   Parties may access this filing through the Court’s system. Lead Co-Counsel for Defendants will

   serve any non-CM/ECF registered parties.



                                                  /s/ Andrea Roberts Pierson




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